       Case 4:22-cv-02263 Document 11 Filed on 07/28/22 in TXSD Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

WILLIAM E. CARLSON                  §
                                    §
v.                                  §     CIVIL ACTION NO. 4:22-CV-02263
                                    §
JPMORGAN CHASE BANK, N.A.           §
______________________________________________________________________________

       UNOPPOSED STIPULATION OF DISMISSAL WITHOUT PREJUDICE
______________________________________________________________________________

TO THE HONORABLE DISTRICT COURT JUDGE:

       Pursuant to the Federal Rule of Civil Procedure, Plaintiff William E. Carlson hereby

stipulates and agrees to the following:

       1.              Plaintiff filed his Original Petition, Application for Injunctive Relief, and

Request for Disclosures in the 234th Judicial Court of Harris County, Texas on June 29, 2022.

       2.      Defendant filed its Notice of Removal on July 8, 2022.

       3.      The parties have resolved this matter amongst themselves.

       4.      Plaintiff as well as Defendant shall bear their own attorney’s fees, expert fees,

and litigation expenses incurred in litigating these claims.

       5.      Accordingly, Plaintiff requests that the Court dismiss this lawsuit with prejudice

against filing same in the future.

       WHEREFORE, PREMISES CONSIDERED, the Plaintiff hereto requests that the Court

enter the attached Order dismissing the above-entitled and numbered cause with prejudice with

costs of court being assessed against the party incurring same.
      Case 4:22-cv-02263 Document 11 Filed on 07/28/22 in TXSD Page 2 of 2




                                             Respectfully submitted,
                                                    VILT LAW, P.C.

                                             By:    /s/ Robert C. Vilt
                                                    ROBERT C. VILT
                                                    Texas Bar Number 00788586
                                                    Federal Bar Number 20296
                                                    Email: clay@viltlaw.com
                                             5177 Richmond Avenue, Suite 1142
                                             Houston, Texas 77056
                                             Telephone:    713.840.7570
                                             Facsimile:    713.877.1827
                                             ATTORNEYS FOR PLAINTIFF


                             CERTIFICATE OF CONFERENCE

       I hereby certify that a conference was held on the merits of this motion on July 28, 2022
with Rachel Hytken and she is not opposed to the relief sought herein.

                                                    /s/ Robert C. Vilt
                                                    ROBERT C. VILT

                                CERTIFICATE OF SERVICE

     I hereby certify that on July 28, 2022 the foregoing was filed with the Court via the
CM/ECF system and that the Clerk of the Court will forward a copy of same to the following
CM/ECF users:

       WM. Lance Lewis,
       Rachel Hytken
       QUILLING, SELANDER, LOWNDS,
       WINSLETT & MOSER, P.C.
       2001 Bryan Street, Suite 1800
       Dallas, Texas 75201
                                     By:           /s/ Robert C. Vilt
                                                   ROBERT C. VILT
